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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Richard Dzionara-Norsen,
Plaintiff, SCHEDULING ORDER

21-CV-6715-FPG-MJP
Vs.

County of Monroe, et al.,
Defendants.

The parties have filed a motion to amend deadlines as mediation has

completed. It is

ORDERED that:

1. All factual discovery in this case shall be completed on or before November
28, 2023. All motions to compel discovery shall be filed by November 2,
2023.

2. Plaintiffs shall identify any expert witnesses and provide reports pursuant
to Fed. R. Civ. P. 26 by December 29, 2023. Defendants shall identify any
expert witnesses and provide reports pursuant to Fed. R. Civ. P. 26 by
January 23, 2024. All parties shall complete all discovery relating to
experts, including depositions, by February 27, 2024.

3. Dispositive motions, if any, shall be filed no later than April 29, 2024.
Unless a consent to proceed before this Court is filed, such motions shall be

made returnable before Judge Geraci.
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4. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

Local Rule 16 will be held, if necessary, at a date and time to be determined
by the trial judge after determination of dispositive motions. If no
dispositive motions are filed, counsel shall immediately contact the trial
judge so that a trial date status conference can be scheduled.
At least seven (7) days prior to the trial date status conference, the parties
shall file a joint case status report setting forth the information described
below. If the parties disagree as to the information to be provided, the
report must set forth their different responses. The joint status report shall
contain:

a. Nature of the Case: Set forth a brief description of the action,
identifying the parties, all counsel of record, the relief requested, any
affirmative defenses and any relationship the case may have to other
pending actions.

b. Motion Practice: Are any motions, dispositive or non-dispositive,

pending? If so, briefly describe the motion. Explain if additional
motion practice is necessary before the matter is ready to be tried.
c. Settlement: Describe the status of settlement negotiations. If the
parties believe a court supervised settlement/mediation conference
would be of assistance in resolving the case or narrowing disputed

issues, please state.
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d. Trial: State whether the case is ready for trial. If not, explain why.
Set forth an estimate of how long the trial will take and whether the
case is jury or non-jury.

0. Requests to extend the above cut-off dates may be granted upon written
application, made prior to the cutoff date, and showing good cause for the
extension. Application for extensions should be made to the Magistrate
Judge. Joint or unopposed requests to extend the deadlines set forth in this
order need not be made by formal motion, but rather may be sought in a
letter to the court. Letter requests must detail good cause for the extension
and propose new deadlines.

6. The Court requires that should any discovery dispute arise between the
parties that a letter be sent to the Court detailing the dispute prior to any
motion practice.

SO ORDERED.

DATED:

J

MARK W. PEDERSEN
United States Magistrate Judge

